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                         EXHIBIT B
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                                                                                                     Execution Copy


                                   AMENDMENT AND TERMINATION AGREEMENT
                                      - dated and effective as of January 14, 2021 -


                                                           RECITALS

                          ProPhase Labs, Inc. and Predictive Laboratories, Inc. entered into an Amended and
                  Restated Promissory Note and Security Agreement dated September 25, 2020 (the “Note
                  Agreement”) and a Consulting Agreement dated September 25, 2020 (the “Consulting
                  Agreement”).

                  All capitalized terms not otherwise defined herein shall have the same meaning as set forth in the
                  respective agreements.

                  AMENDMENT OF THE NOTE AGREEMENT

                  Holder has requested additional funding of One Million Dollars ($1,000,000) from Holder
                  (“Additional Funding”), and Holder has agreed to provide such Additional Funding. Accordingly,
                  the parties hereto hereby agree that the Note Agreement is amended as follows:

                           1. The parties acknowledge that Debtor has earned Two Hundred and Fifty Thousand
                              Dollars ($250,000.00 USD) as set forth in paragraph 1(a) of Schedule A to the
                              Consulting Agreement, which amount shall be applied against and reduce the Initial
                              Principal Amount under the Note Agreement (the “Credit”).

                              (a) Subject only to the mutual execution and delivery of this Amendment Agreement
                                  and remittance by Holder of the aforesaid Additional Funding, the Initial
                                  Principal Amount due under the Note Agreement as of the date hereof is hereby
                                  increased from Three Million Dollars ($3,000,000.00) to Three Million Seven
                                  Hundred Fifty Thousand Dollars ($3,750,000) (which amount shall be increased
                                  by accrued interest thereon as set forth in clause 1(b) below), by reason of:

                                               i. application of the Credit, and

                                              ii. funding of an additional One Million Dollars ($1,000,000) by
                                                  Holder

                              (b) The Initial Principal Amount due and payable as of January 14, 2021, is further
                                  increased, by adding to the aforesaid Three Million Seven Hundred Fifty
                                  Thousand Dollars ($3,750,000) amount, all accrued and unpaid interest arising
                                  under the Note Agreement through and including January 14, 2021.




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                           2.   Paragraph (a) of the Note Agreement under the section heading REPAYMENT
                                AND PREPAYMENT is hereby deleted in its entirety and replaced with the
                                following provisions:

                                      (a)     Payments.

                                               i. The Borrower is selling and processing its Assurance VR
                                                  Covid-19 viral test by RT-PCR (together with any and all
                                                  other viral and other types of tests sold or processed by
                                                  Debtor, a “Test”). Until the Note is paid in full, for each Test
                                                  sold or processed from and after January 14, 2021, and for
                                                  which payment of at least Eighty-Five Dollars ($85.00 USD)
                                                  for the Test is received by Debtor, Debtor will pay Holder
                                                  the sum of Ten Dollars ($10.00 USD) (the “Test Fee”).
                                                  Holder will not circumvent the payment of Test Fees by
                                                  directing any Tests or payments for Tests to any affiliate of
                                                  Holder or to any other person or entity.

                                              ii. If less than Eighty Five Dollars ($85.00 USD) per test is paid
                                                  with respect to such Tests, the Test Fee shall be adjusted
                                                  downwards proportionately, to a minimum Test Fee of Fifty
                                                  Cents ($0.50 USD) per test for which payment of Forty Five
                                                  Dollars ($45.00 USD) for the Test is received by Debtor. By
                                                  way of example only, if the amount paid to Debtor for
                                                  selling or processing a Test is $70.00, then the Test Fee shall
                                                  be $6.44. Attached hereto as Schedule A is an illustrative
                                                  chart showing the applicable Test Fee.

                                              iii. The total payments made pursuant to section (a)(i) and (a)
                                                   (ii) shall not exceed the aggregate amounts due under the
                                                   Note and shall be applied first to Interest and other amounts
                                                   due under the Note and then to the then-current outstanding
                                                   Principal Amount.

                                              iv. Test Fees will be due and payable on the tenth (10th)
                                                  business day after the end of each month in which payment
                                                  for Tests was received. Commencing in February, 2021, and
                                                  until the Note is paid in full, on the tenth (10th) business day
                                                  after the end of each month until the Note is paid in full
                                                  (each, a “Payment Date”), Debtor shall deliver to Holder a
                                                  detailed accounting statement setting forth the number of
                                                  Tests sold or processed during the preceding month and the
                                                  amount(s) of revenues received by Debtor in connection
                                                  with selling or processing Tests. Accordingly, the first
                                                  payment and the first accounting statement shall be due in


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                                                       March, 2021 in respect of Test Fees for the month of
                                                       February, 2021.

                                                   v. On each Payment Date commencing on or after September
                                                      1, 2021, in addition to payments of Test Fees described
                                                      above, Debtor shall also make payments in an amount equal
                                                      to the greater of (x) the Test Fee, or (y) 1/36th of the then
                                                      outstanding Principal Amount together with interest thereon
                                                      and interest accruing on the Note, in accordance with the
                                                      Note.

                                                  vi. Accordingly, commencing on September 1, 2021, the
                                                      minimum number of monthly payments due and payable
                                                      from Debtor shall be equal to the amount required to
                                                      amortize fully the outstanding Principal Amount of the Loan,
                                                      together with interest and any fees owed by Debtor over a
                                                      period of thirty six (36) months with level monthly
                                                      payments.

                           3. The Note Agreement shall remain in full force and effect and shall remain unaltered,
                               except to the extent specifically amended or modified herein.

                  TERMINATION OF CONSULTING AGREEMENT.

                  The parties hereby agree that the Consulting Agreement is hereby terminated and that all
                  obligations, responsibilities, and liabilities of the parties arising pursuant to the Consulting
                  Agreement are deemed to have been satisfied and fully performed and are terminated, released
                  and discharged in their entirety, notwithstanding any provision in the Consulting Agreement to
                  the contrary.

                               *           *               *                *                  *              *

                  This AMENDMENT AND TERMINATION AGREEMENT is dated and effective as of January
                  14, 2021 and may be signed in several counterparts, through the use of multiple signature pages
                  appended to each original, and all such counterparts shall constitute one and the same instrument.
                  Any counterpart to which is attached the signatures of all parties shall constitute an original of
                  this Amendment and Termination Agreement.

                  IN WITNESS WHEREOF, each of the parties hereto has caused this Amendment and
                  Termination Agreement to be executed on their behalf as of January 14, 2021.




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                   PREDICTIVE LABORATORIES,            PROPHASE LABS, INC
                   INC.

                   By                                    By
                   Name: Bradley C. Robinson             Name: Ted Karkus
                   Title: Chief Executive Officer        Title: Chief Executive Officer




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                                                       SCHEDULE A



                           Under $85
                           Sell Price   Payback      Discount
                            $     85.00 $      10.00
                                  84.00         9.76       (0.24)
                                  83.00         9.53       (0.48)
                                  82.00         9.29       (0.71)
                                  81.00         9.05       (0.95)
                                  80.00         8.81       (1.19)
                                  79.00         8.58       (1.43)
                                  78.00         8.34       (1.66)
                                  77.00         8.10       (1.90)
                                  76.00         7.86       (2.14)
                                  75.00         7.63       (2.38)
                                  74.00         7.39       (2.61)
                                  73.00         7.15       (2.85)
                                  72.00         6.91       (3.09)
                                  71.00         6.68       (3.33)
                                  70.00         6.44       (3.56)
                                  69.00         6.20       (3.80)
                                  68.00         5.96       (4.04)
                                  67.00         5.73       (4.28)
                                  66.00         5.49       (4.51)
                                  65.00         5.25       (4.75)
                                  64.00         5.01       (4.99)
                                  63.00         4.78       (5.23)
                                  62.00         4.54       (5.46)
                                  61.00         4.30       (5.70)
                                  60.00         4.06       (5.94)
                                  59.00         3.83       (6.18)
                                  58.00         3.59       (6.41)
                                  57.00         3.35       (6.65)
                                  56.00         3.11       (6.89)
                                  55.00         2.88       (7.13)
                                  54.00         2.64       (7.36)
                                  53.00         2.40       (7.60)
                                  52.00         2.16       (7.84)
                                  51.00         1.93       (8.08)
                                  50.00         1.69       (8.31)
                                  49.00         1.45       (8.55)
                                  48.00         1.21       (8.79)
                                  47.00         0.98       (9.03)


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                           46.00          0.74        (9.26)
                           45.00          0.50        (9.50)




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